

Vassenelli v City of Syracuse (2019 NY Slip Op 05879)





Vassenelli v City of Syracuse


2019 NY Slip Op 05879


Decided on July 31, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 31, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, NEMOYER, AND CURRAN, JJ.


442 CA 18-00985

[*1]NICHOLAS L. VASSENELLI, PLAINTIFF-APPELLANT,
vCITY OF SYRACUSE, ET AL., DEFENDANTS, AND SHARON ERIKSSON, IN HER INDIVIDUAL CAPACITY AS A FORMER AGENT OF THE CITY OF SYRACUSE, DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






BOSMAN LAW FIRM, LLC, ROME (A.J. BOSMAN OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
COSTELLO, COONEY &amp; FEARON, PLLC, SYRACUSE (DANIEL R. ROSE OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Onondaga County (Gregory R. Gilbert, J.), entered February 28, 2018. The judgment awarded costs and disbursements to defendant Sharon Eriksson. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs.
Same memorandum as in Vassenelli v City of Syracuse ([appeal No. 1] — AD3d — [July 31, 2019] [4th Dept 2019]).
Entered: July 31, 2019
Mark W. Bennett
Clerk of the Court








